935 F.2d 1289Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Earl WILKINS, Plaintiff-Appellant,v.Norma B. GLUCKSTERN, Director, Robert L. Johns,Superintendent, R. Bridges, Captain, A. Jordan, Lieutenant,Sergeant MacMurray, P. Williams, Officer, Nancy Dixon, MailClerk, D. Simmons, Dietician, Ben E. Montaque, Librarian,Defendants-Appellees.
    No. 90-6702.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 3, 1991.Decided June 17, 1991.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frederic N. Smalkin, District Judge.  (CA-88-1563-S)
      Earl Wilkins, appellant pro se.
      John Joseph Curran, Jr., Attorney General, Audrey J.S. Carrion, Assistant Attorney General, Baltimore, Md., for appellees.
      D.Md.
      AFFIRMED.
      Before WIDENER, MURNAGHAN and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Earl Wilkins appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Wilkins v. Gluckstern, CA-88-1563-S (D.Md. Nov. 19, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    